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UNITED STATES DISTRICT COURT

District of Arizona

In the Matter of the Search of.

SUBJECT PARCEL: USPS Priority Express
parcel bearing USPS tracking number EJ 323 597
134 US, addressed to “Elle HaRRis, 1740 W 37th SEARCH WAR RA NT R)
place, Tulsa, OK 74107” with a return address of Case Number: QD ~ sn =) SSN
“Belle HaRRis, 6780 W _  DiscoveRy DR,

GleNdale, AZ 85301”. It is large box wrapped in

pink wrapping paper with a USPS Priority Mail

Express label measuring approximately 19” x 13”

x 10”; weighing approximately 15 pounds and 8

ounces; postmarked September 2, 2022; and

bearing $131.00 in postage.

TO: ANTOINE MARTEL and any Authorized Officer of the United States

Affidavit having been made before me by Affiant, Antoine Martel, UNITED STATES POSTAL INSPECTOR,
on the premises known as:

SUBJECT PARCEL: USPS Priority Express parcel bearing USPS tracking number EJ 323 597 134 US,
addressed to “Elle HaRRis, 1740 W 37th place, Tulsa, OK 74107” with a return address of “Belle HaRRis,
6780 W DiscoveRy DR, GleNdale, AZ 85301”. It is large box wrapped in pink wrapping paper with a USPS
Priority Mail Express label measuring approximately 19” x 13” x 10”; weighing approximately 15 pounds and 8
ounces; postmarked September 2, 2022; and bearing $131.00 in postage.

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED
STATES CODE, SECTIONS 841(a)(1), 843(b) and 846, AS EVIDENCE OF SAID VIOLATIONS.

I am satisfied that the Affidavit establishes probable cause to believe that the property so described is now
concealed on the premises above described and establishes grounds for the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before g -2 O ~ d o (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and receipt for the property taken, and to prepare a written inventory of the property seized and promptly
return this warrant to any United States Magistrate Judge, District of Arizona as required by law.

g i Lf

4. lo - Q a. ev 3 ‘ OOo, WH 4 at Phoenix, Arizona
Date and Time Issued OA City and State
HONORABLE JOHN Z. BOYLE q & (
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signature of Judicial Officer

 
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UNITED STATES DISTRICT COURT

 

In the Matter of the Search of:

SUBJECT PARCEL: USPS Priority Express
parcel bearing USPS tracking number EJ 323 597
134 US, addressed to “Elle HaRRis, 1740 W 37th
place, Tulsa, OK 74107” with a return address of
“Belle HaRRis, 6780 W DiscoveRy DR, GleNdale,
AZ 85301”. It is large box wrapped in pink
wrapping paper with a USPS Priority Mail Express
label measuring approximately 19” x 13” x 10”;
weighing approximately 15 pounds and 8 ounces;
postmarked September 2, 2022; and _ bearing
$131.00 in postage.

District of Arizona

APPLICATION AND AFFIDAVIT
FOR SEARCH WARR sy

Case Number: 92. ~ So

I, ANTOINE MARTEL, being duly sworn, depose and state as follows:

Iam a UNITED STATES POSTAL INSPECTOR and have reason to believe that on the premises known as:

SUBJECT PARCEL: USPS Priority Express parcel bearing USPS tracking number EJ 323 597 134 US,
addressed to “Elle HaRRis, 1740 W 37th place, Tulsa, OK 74107” with a return address of “Belle HaRRis,
6780 W DiscoveRy DR, GleNdale, AZ 85301”. It is large box wrapped in pink wrapping paper with a USPS
Priority Mail Express label measuring approximately 19” x 13” x 10”; weighing approximately 15 pounds and 8

ounces; postmarked September 2, 2022; and bearing $131.00 in postage.

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, which is CONTRABAND, THE FRUITS OF

CRIME, OR THINGS OTHERWISE CRIMINALLY POSSESSED,

in violation of Title 21, United States Code, Sections 841(a)(1), 843(b) and 846. The facts to support the issuance

of a Search Warrant are as follows:

SEE ATTACHED AFFIDAVIT OF ANTOINE MARTEL, WHICH IS MADE A PART HEREOF.

© Digitally signed
\ by HEATHER

Authorized by AUSA Heather Sechrist cioucasacdd SECHRIST

f.- Datel 2022.09.06
11:28:25 -07'00'

Sworn to me telephonically, and subscribed
electronically

Antoine Martel

‘ Digitally signed by Antoine Martel
‘Date: 2022.09.06 11:37:14 -07'00'

 

Signature of Affiant - ANTOINE MARTEL

September 6, 2022 @ Ss) OO p (MW. at Phoenix, Arizona

Date

HONORABLE JOHN Z. BOYLE
UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer

City and State

Cx —

Signature of Judicial Officer
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AFFIDAVIT AND STATEMENT OF PROBABLE CAUSE
I, Antoine Martel, being duly sworn, hereby depose and state as follows:

1, I am a Postal Inspector with the U.S Postal Inspection Service and have been
since February 2019. I completed a 14-week basic training course, which included training
in the investigation of narcotics trafficking via the U.S. Mail, as well as the 40-hour
Advanced Contraband Interdiction and Investigation course. Iam currently assigned to the
Phoenix Division, specifically to the Contraband Interdiction and Investigations (CI2) team
in Arizona, which is responsible for investigating narcotics violations involving the U.S.
Mail. My responsibilities include the detection and prevention of the transportation of
controlled substances through the U.S. Mail. Part of my training as a Postal Inspector
included narcotics investigative techniques, chemical field-testing, and training in the
identification and detection of controlled substances being transported in the U.S. Mail.

2. I have assisted on narcotics investigations of individuals for violations of
Title 18, United States Code, Section 1956(h) (Conspiracy to Commit Money Laundering),
as well as Title 21, United States Code, Sections 841(a)(1) (Possession with Intent to
Distribute a Controlled Substance), 843(b) (Use of a Communication Facility to Facilitate
the Distribution of a Controlled Substance), and 846 (Conspiracy to Possess with Intent to
Distribute a Controlled Substance). The facts and information contained in this Affidavit
are based on my training and experience, or that of other Postal Inspectors and law
enforcement officers involved in this investigation as described below.

3, This Affidavit is made in support of an application for a search warrant for

one United States Postal Service (USPS) parcel (the “SUBJECT PARCEL”). The
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SUBJECT PARCEL is believed to contain controlled substances or proceeds from the
sale of controlled substances.
4, The SUBJECT PARCEL is further described as follows:
One USPS Priority Express parcel bearing USPS tracking number EJ 323
597 134 US, addressed to “Elle HaRRis, 1740 W 37th place, Tulsa, OK
74107” with a return address of “Belle HaRRis, 6780 W DiscoveRy DR,
GleNdale, AZ 85301”. It is large box wrapped in pink wrapping paper with
a USPS Priority Mail Express label measuring approximately 19” x 13” x
10”; weighing approximately 15 pounds and 8 ounces; postmarked
September 2, 2022; and bearing $131.00 in postage.
BACKGROUND
5. From my training and experience, as well as the training and experience of
other Postal Inspectors on the PMNT, I am aware that the USPS mail system is frequently
used to transport controlled substances and proceeds from the sale of controlled substances
to areas throughout the United States. I also know that drug traffickers prefer delivery
services such as Express Mail and Priority Mail because of their reliability and the ability
to track the article’s progress to the intended delivery point. When a drug trafficker learns
that a mailed article has not arrived as scheduled, he/she often becomes suspicious of any
delayed attempt to deliver the item.
6. Based on my training and experience regarding Express Mail operations, I
am aware that the Express Mail service was designed primarily to fit the needs of

businesses by providing overnight delivery for time-sensitive materials. Moreover, based
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on my training and experience, I am aware that business mailings often: (a) contain
typewritten labels; (b) are addressed to and/or from a business; (c) are contained within flat
cardboard mailers; and (d) weigh less than eight ounces. In addition, corporate charge
accounts were developed by the United States Postal Service to avoid time-consuming cash
payments by businesses for business mailings.

7. Based on my training and experience regarding Priority Mail operations, I
am aware that the Priority Mail service was created as a less expensive alternative to
Express Mail overnight delivery, but designed to provide quicker, more reliable service
than standard First-Class Mail. Whereas a customer mailing an article via Express Mail
expects next-day service, a customer who mails an article via Priority Mail can expect two
to three-day delivery service. The USPS provides a tracking service though a USPS
tracking number, which allows the customer to track the parcel and confirm delivery.

8. Additionally, I have learned that most Priority Mail mailings are business
mailings. Priority Mail is a significantly less expensive method of mailing than Express
Mail, particularly when next-day service is not required. I also know that the
characteristics of Priority Mail business mailings are similar to Express Mail business
mailings. Priority Mail articles tend to be smaller, lighter mailings than traditional
mailings, and on average, weigh less than two pounds. Examples of typical business
mailings conducted via Priority Mail include books, clothing, pharmaceuticals, and
consumer goods purchased from online retailers.

9, From my training, personal experience, and the collective experiences related

to me by other Postal Inspectors on the PMNT who specialize in investigations relating to
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the mailing of controlled substances and proceeds from the sale of controlled substances, I
am aware that the State of Arizona is a source location for controlled substances based on
its proximity to the United States-Mexico border. As such, controlled substances are
frequently transported from Arizona via USPS, and proceeds from the sale of controlled
substances are frequently returned to Arizona via USPS.

10. Based on my training and experience regarding the use of Express Mail and
Priority Mail to transport controlled substances and the proceeds from the sale of controlled
substances, I am aware these parcels usually contain some or all of the following
characteristics:

a. The parcel contains a label with handwritten address information and is
addressed from one individual to another individual;

b. The handwritten label on the parcel does not contain a business account
number, thereby indicating that the sender likely paid cash;

c. The parcel is heavier than the typical mailing, often weighing more than
eight ounces for Express Mail, and two pounds for Priority Mail; and

d. The parcel either: (a) was destined for an area known to be a frequent
destination point for controlled substances, having been mailed from an
area known to be a source area for controlled substances; or (b) originated
from an area known to be a frequent origination point for proceeds from
the sale of controlled substances, having been mailed to an area known to
be a destination area for proceeds from the sale of controlled substances.

11. Express Mail and Priority Mail parcels found to meet some or all of the
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characteristics described above are often scrutinized by Postal Inspectors through address
verifications and an examination by a trained narcotics detecting canine.
RELEVANT FACTS PERTAINING TO THE SUBJECT PARCEL

12. On or about September 2, 2022, the United States Postal Inspection Service
(“USPIS”) identified a suspicious parcel (the SUBJECT PARCEL) mailed from
Glendale, Arizona, destined for Tulsa, Oklahoma. This parcel is now being held in
Arizona.

13. OnSeptember 2, 2022, members of USPIS conducted a physical examination
of the SUBJECT PARCEL and observed that it met some of the characteristics listed in
Paragraph 10 above. Specifically, 1) the SUBJECT PARCEL has a label with
handwritten address information and is addressed from one individual to another
individual, 2) the SUBJECT PARCEL weighs 51 pounds and 8 ounces, 3) the SUBJECT
PARCEL originated from an area known to be a source area for controlled substances,
mailed to an area known to be a frequent destination point for controlled substances, and
4) the postage charge for the SUBJECT PARCEL had been paid in cash.

14. Based on my training, experience, and the collective experiences related to
me by other Postal Inspectors on the PMNT who specialize in investigations relating to the
mailing of controlled substances and proceeds from the sale of controlled substances, I am
aware that Arizona is frequently a source location for controlled substances that are mailed
to Oklahoma, and that proceeds from the sale of controlled substances are frequently
returned to Arizona from Oklahoma via USPS.

15. Members of the USPIS conducted a database query regarding the names and
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addresses listed on the SUBJECT PARCEL in Consolidated Lead Evaluation and
Reporting (CLEAR), a law enforcement database accessible to me. CLEAR associates
addresses and telephone numbers to individuals and business entities. The CLEAR
database is created from credit reports, law enforcement reports, utility records, and other
public records.

16. Through the CLEAR database query, investigators learned that the delivery
address for the SUBJECT PARCEL, 1740 West 37th Place, Tulsa, Oklahoma 74107, is
an existing, deliverable address, but the purported recipient, Elle Harris, may be Ellechupco
Harris, who last associated to the delivery address 14 years ago. The return address for the
SUBJECT PARCEL, 6780 West Discovery Drive, Glendale, Arizona 85301, is an
existing, deliverable address, but the purported sender, Belle Harrie, does not associate to
the return address.

17. From my training, personal experience, and the collective experiences related
to me by other Postal Inspectors on the PMNT who specialize in investigations relating to
the mailing of controlled substances, it is common for drug traffickers to omit the name(s)
of persons associated with a particular address, to use purported names not associated with
a particular address, and to utilize fictitious names and addresses to evade detection by law
enforcement.

CANINE EXAMINATION OF THE SUBJECT PARCEL

18. On September 2, 2022, City of Mesa Police Department (MPD)

Detective/Canine Handler Dawn Haynes and her narcotics-detecting canine “Nicole”

inspected the SUBJECT PARCEL in Phoenix, Arizona. Detective Haynes advised that
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“Nicole” gave a positive alert to the SUBJECT PARCEL at approximately 6:30 p.m. by
lying down next to the SUBJECT PARCEL.

19, Detective Haynes described that, when “Nicole” lays down next to an item
as she did, “Nicole” is exhibiting a “passive” alert that “Nicole” has been trained to
give. Detective Haynes stated the “passive” alert given by “Nicole” indicates the presence
within the SUBJECT PARCEL of heroin, cocaine, marijuana, and/or methamphetamine,
or currency, notes, documents, or evidence bearing the presence of the odors of heroin,
cocaine, marijuana, and/or methamphetamine.

20. Detective Haynes advised that she is an MPD Detective currently assigned
to the handling and care of MPD narcotics-detecting canine “Nicole.” Detective Haynes
has been a law enforcement officer with MPD for 21 years. “Nicole” is a five-year-old
Belgian Malinois who has been working drugs/narcotics detection for the MPD since
February 2020. “Nicole” and Detective Haynes currently hold a National Certification in
drugs/narcotics detection by the National Police Canine Association (NPCA). This is a
yearly certification and “Nicole” and Detective Haynes were last certified in March
2022. Detective Haynes’ certifications also include the completion of a canine certification
course presented by Alpha canine training facility. “Nicole” is trained to detect the odors
of cocaine, marijuana, heroin, methamphetamine, and their derivatives. Detective Haynes
advised that, since “Nicole” began working at the MPD, “Nicole” has had over 100
successful finds (both training finds and finds that have contributed to active
investigations) of controlled substances or proceeds from the sales of controlled

substances.
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CONCLUSION
21. Based on these facts, there is probable cause to believe the SUBJECT
PARCEL described above contains controlled substances or proceeds from the sale of
controlled substances, constituting evidence of violations of Title 21, United States Code,
Sections 841(a)(1) (Possession with Intent to Distribute a Controlled Substance), 843(b)
(Use of a Communication Facility to Facilitate the Distribution of a Controlled Substance),

and 846 (Conspiracy to Possess with Intent to Distribute a Controlled Substance).

Antoine Martel oste:sbz20s06 13736-0700"
ANTOINE MARTEL
United States Postal Inspector

 

Subscribed electronically and sworn telephonically on this 6th day of September,

2022.

HONORABLE JOHN Z. BOYLE
UNITED STATES MAGISTRATE JUDGE

  
